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    PROPOSED COUNSEL FOR THE DEBTOR
    AND DEBTOR-IN-POSSESSION

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

                                                          )
    In re:                                                )        Chapter 11
                                                          )
    RED RIVER WASTE SOLUTIONS, LP,1                       )        Case No. 21-43423 (●)
                                                          )
                        Debtor.                           )        (Expedited Consideration Requested)
                                                          )

    DEBTOR’S EMERGENCY MOTION FOR ENTRY OF INTERIM AND FINAL
     ORDERS (I) AUTHORIZING THE DEBTOR TO OBTAIN POSTPETITION
  FINANCING, (II) GRANTING LIENS AND SUPERPRIORITY ADMINISTRATIVE
 EXPENSE CLAIMS, (III) MODIFYING THE AUTOMATIC STAY, (IV) SCHEDULING
         A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

             Red River Waste Solutions, LP, as the debtor and debtor-in-possession in the above-

captioned chapter 11 case (the “Debtor” or “Red River”)2 hereby moves (this “Motion”):3




1
      The last four digits of the Debtor’s taxpayer identification number are 8719. The Debtor’s principal office is
      located at 4004 East Hwy, 290 West, Dripping Springs, Texas 78620.
2
      A detailed description of the Debtor and its businesses, and the facts and circumstances supporting this Motion
      are set forth in the Declaration of James Calandra in Support of Chapter 11 Petition and First Day Motions (the
      “First Day Declaration”).
3
      Capitalized terms used but not yet defined herein have the meanings ascribed to such terms later in this Motion,
      the Interim Order (defined below) or in the First Day Declaration, as applicable.


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                                             Introduction

         1.        By this Motion, the Debtor seeks to obtain senior secured postpetition debtor in

possession financing facility (the “DIP Facility”) from Weldon Smith (the “DIP Lender”, and

together with the Debtor, the “DIP Loan Parties”) to provide financing to reorganize the Debtor.

         2.        As described in the First Day Declaration, the Debtor negotiated with the DIP

Lender in anticipation of funding this case. To finance this chapter 11 case (the “Chapter 11 Case”

or the “Case”), the DIP Lender will provide the Debtor with a DIP Facility sufficient and necessary

to continue its ongoing operations and position the Debtor for successful reorganization, save jobs,

and ensure that the Debtor’s key customers and vendors continue to have a viable go-forward

business partner.

         3.        The DIP Facility will provide the Debtor with sufficient liquidity to fund its

business operations and administrative expenses at the outset of this Chapter 11 Case. If approved,

the Debtor will use the proceeds of the DIP Facility to, among other things, honor employee wages

and benefits, procure goods and services, fund general and corporate operating needs and the

administration of this Chapter 11 Case, all in accordance with a budget agreed to by the Debtor

and the DIP Lender (as may be modified, supplemented, or amended, from time-to-time, the

“Approved Budget”) attached as Exhibit 2 to the form of proposed interim order attached hereto

as Exhibit A (the “Interim Order”). A copy of the Attorney Checklist Concerning Motion and

Order Pertaining to Use of Cash Collateral and Post-Petition Financing is annexed hereto as

Exhibit B.

         4.        As set forth in the First Day Declaration, the Debtor and its estate would suffer

immediate and irreparable harm if it was denied the financing needed to sustain on-going business

operations during the critical first weeks of the case. The DIP Facility ensures that the Debtor will

continue to operate uninterrupted in this Chapter 11 Case. Further, as set forth in the First Day

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Declaration, the terms of the DIP Facility are reasonable under the circumstances, and were the

product of good faith, arm’s length negotiations.

         5.        Thus, for the reasons set forth herein and, in the First Day Declaration, the Debtor

believes that approval of the DIP Facility will maximize the value of the Debtor’s estate for the

benefit of all stakeholders and is an exercise of sound business judgment. Accordingly, the Debtor

respectfully requests that the Court approve the relief requested herein, and enter an interim order

substantially in the form of the Interim Order attached hereto as Exhibit A and a final order (the

“Final Order,” and together with the Interim Order, the “DIP Orders”).

                                        Jurisdiction and Venue

         6.        The United States Bankruptcy Court for the Northern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S. C. § 1334. This matter is a core

proceeding within the meaning of 28 U.S. C. § 157(b). The Debtor confirms its consent, pursuant

to Rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry

of a final order by the Court.

         7.        Venue is proper pursuant to 28 U.S. C. §§ 1408 and 1409.

         8.        The bases for the relief requested herein are sections 105, 361, 362, 363, 364, 503,

and 507 of title 11 of the United States Code, 11 U.S. C. §§ 101–1532 (the “Bankruptcy Code”),

Bankruptcy Rules 2002, 4001, 6003, 6004, and 9014, and Rule 9013-1 of the Local Bankruptcy

Rules of the United States Bankruptcy Court for the Northern District of Texas (the “Local Rules”).

                                              Background

         9.        Contemporaneously with the filing of this Motion, the Debtor filed its Statement of

Background Information and the First Day Motion, describing the facts and circumstances of this

case and supporting this Motion, which are incorporated by reference herein.



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         10.       The Debtor is operating its business and managing its properties as debtor in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No party has requested

the appointment of a trustee or examiner in this chapter 11 case, and no committees have been

appointed or designated.

                                              Relief Requested

         11.       By this motion, the Debtor seeks entry of the Interim Order, and subsequently, the

Final Order:

                   a.       authorization for Red River Waste Solutions, LP to the obtain the DIP
                            Facility from the DIP Lender consisting of a superpriority debtor-in-
                            possession credit facility pursuant to the terms and conditions of that certain
                            debtor-in-possession financing term sheet among the Debtor and DIP
                            Lender, such term sheet attached as Exhibit 1 to the Interim Order (as
                            may be amended restated, supplemented, waived the “Term Sheet”) and
                            which shall consist of a superpriority priming term loan facility with an
                            aggregate principal amount of up to $500,000 from the DIP Lender;

                   b.       authorization for the Debtor and DIP Lender to execute and enter into the
                            Term Sheet and any other agreements, instruments, pledge agreements,
                            guarantees, security agreements, control agreements, notes and other
                            documents reasonably required by the DIP Lender (collectively, and
                            together with the Orders, the “DIP Financing Documents” and all
                            obligations and indebtedness of any of the Debtor to the DIP Lender under
                            the DIP Financing Documents (collectively, the “DIP Obligations”) and to
                            perform their respective obligations thereunder and all such other and
                            further acts as may be necessary, appropriate, or desirable in connection
                            with the DIP Financing Documents, including, but not limited to, granting
                            or perfecting liens or security interests by the Debtor in favor of and for the
                            benefit of the DIP Lender on account of the DIP Facility;

                   c.       the authority for the DIP Loan Parties to use the proceeds of the DIP Facility
                            as expressly provided in the DIP Financing Documents and solely in
                            accordance with the Approved Budget (defined below);

                   d.       authorization for the Debtor to pay the principal, interest, fees, expenses and
                            other amounts payable under the DIP Financing Documents as such become
                            earned, due and payable, including, but not limited to, the DIP Lender’s
                            transaction expenses;

                   e.       the granting to the DIP Lender of allowed superpriority claims, subject to
                            the Carve Out (as defined below), pursuant to section 364(c)(1) of the

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                            Bankruptcy Code payable from and having recourse to the collateral set
                            forth on Exhibit B to Exhibit 1, attached to the Interim Order (the “DIP
                            Collateral”);

                   f.       the granting to the DIP Lender of liens pursuant to section 364(c)(2) and
                            364(c)(3) of the Bankruptcy Code on the DIP Collateral, subject to the
                            Carve Out;

                   g.       modification of the automatic stay of Bankruptcy Code section 362 (the
                            “Automatic Stay”) to the extent necessary to implement and effectuate the
                            terms and provisions of the DIP Financing Documents, including the
                            Interim Order;

                   h.       a waiver of any applicable stay (including under Bankruptcy Rule 6004)
                            with respect to the effectiveness of the Interim Order; and,

                   i.       the scheduling of an interim hearing (the “Interim Hearing”) on the Motion
                            to be held before this Court to consider entry of the Interim Order;

                   j.       scheduling a final hearing (the “Final Hearing”) to be held within 25 days
                            of the entry of the Interim Order to consider final approval of the DIP
                            Facility pursuant to a proposed final order; and

                   k.       granting such other and further relief as is just and proper.

                        Concise Statement Pursuant to Bankruptcy Rule 4001(b)

I.       Concise Statement regarding the DIP Facility.4

         12.       The below chart contains a summary of the material terms of the proposed DIP

Loan, together with references to the applicable sections of the relevant source documents, as

required by Bankruptcy Rules 4001(b)(1)(B) and 4001(c)(1)(B).5




4
     Any summary of the terms of the Term Sheet or Interim Order contained in this Motion is qualified in its
     entirety by reference to the provisions of the Term Sheet or Interim Order, as applicable. To the extent the
     Motion is inconsistent with the Interim Order or Term Sheet, as applicable, the relevant document shall control.
     The Debtor reserves the right to supplement the statements made pursuant to Bankruptcy Rule 4001.

5
     Capitalized terms used in the following summary chart but not otherwise defined have the meanings ascribed to
     them in the Term Sheet or the Interim Order, as applicable.




                                                          5
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        Bankruptcy Code         Summary of Material Terms
 Borrower                       Red River Waste Solutions, LP
 Bankruptcy Rule
                                See Term Sheet at 1
 4001(c)(1)(B)
 DIP Lender                     Weldon Smith
 Bankruptcy Rule
                                See Term Sheet at 1.
 4001(c)(1)(B)
 Term                           The DIP Facility matures six (6) months from closing.
 Bankruptcy Rule
                                See Term Sheet at Exhibit 1 to the Interim Order.
 4001(b)(l)(B)(iii),
 4001(c)(1)(B)
 Commitment                     Up to five hundred thousand dollars ($500,000) fully funded upon
 Bankruptcy Rule                satisfaction of all conditions precedent.
 4001(c)(1)(B)
                                See Term Sheet at Exhibit A.
 Conditions of Borrowing        Closing will be subject to the closing conditions set forth in the
 Bankruptcy Rule                definitive agreements that shall include, without limitation, the
 4001(c)(1)(B)                  following conditions precedent:
                                  i. Debtor and Lender executing definitive
                                     agreements for the DIP Facility on terms and
                                     conditions acceptable to Lender in Lender’s sole
                                     and absolute discretion;
                                 ii. The Bankruptcy Court shall have entered an
                                     order approving the DIP Facility and granting
                                     the Lender an administrative expense consistent
                                     with the terms on the attached Exhibit A and a
                                     senior lien on the collateral described on the
                                     attached Exhibit B;
                                iii. If any other approvals or consents are needed to
                                     effectuate the proposed transaction, all such
                                     approvals and consents have been obtained;
                                iv. Closing is predicated on Lender and Debtor’
                                     mutual satisfaction with the definitive
                                     documentation; and
                                 v. Closing on any single agreement is predicated
                                     on the closing of all definitive agreements.
                                See Term Sheet at ¶6, Exhibit A, and Exhibit B.
 Interest Rates                 Cash interest shall be computed on an actual / 360 basis, payable
 Bankruptcy Rule                monthly in arears at 6% per annum.
 4001(c)(1)(B)
                                Default rate equal to applicable Interest Rate plus four percent (4.0%)
                                See Term Sheet at Exhibit A.
 Use of DIP Financing           Use of proceeds of the DIP Facility based on a mutually agreed upon
 Facility Bankruptcy Rule       budget for the following purposes:
 4001(b)(l)(B)(ii)
                                i.      Working capital, liquidity and general corporate purposes; and


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        Bankruptcy Code         Summary of Material Terms
                                ii.     Administrative and professional fees
                                See Term Sheet at Exhibit A.
 Budget                         Upon closing, Lender shall be provided with an operating budget with
 Bankruptcy Rule 4001           the projected financial operations of the Debtor in a form acceptable to
 (c)(1)(B)                      Lender in Lender’s sole discretion.
                                Approved Budget. The Approved Budget is attached as Exhibit 2 to the
 Variance Covenant
                                Interim Order.
 Bankruptcy Rule
 4001(c)(l)(B)                  See Interim Order, Exhibit 2.
                                The Debtor shall provide the DIP Lender with a variance report
                                reflecting the actual cash Closing through November 7, 2021 (the
                                “Budget Period”), within three (3) business days after the end of each
                                such one-week period, and showing the percentage variance of actual
                                receipts and disbursements from those reflected in the Approved Budget
                                for such periods receipts and disbursements for (a) each one (1) week
                                period and (b) the period from
                                See Interim Order ¶ 9.
 Events of Default              Events of Default include, without limitation: (i) failure to make all
 Bankruptcy Rule                required payments, (ii) material non-compliance with the terms and
 4001(c)(l)(B)                  conditions set forth in the DIP Facility Documentation and (iii) the
                                occurrence of one or more material events that have an adverse effect
                                on the Debtor’s financial position. Events of default also include:
                                (a)      Breach of any payment or reporting obligation under the DIP
                                Facility or this Interim Order;
                                (b)      Entry of any order, other than this Interim Order, materially
                                altering, staying, or otherwise modifying the terms of the DIP Facility
                                set forth in the Term Sheet;
                                (c)     Filing by Debtor of any pleading pursuing the conversion to
                                Chapter 7 or dismissal of the Chapter 11 Case without the prior written
                                consent of the DIP Lender, which consent may be withheld at DIP
                                Lender's sole discretion;
                                (d)     Order of the Bankruptcy Court converting to Chapter 7 or
                                dismissing the Chapter 11 Case, or appointing a Chapter 11 Trustee or
                                examiner that is not previously agreed to in writing by the DIP Lender,
                                which agreement may be withheld at DIP Lender’s sole discretion;
                                (e)     Entry of any order granting relief from the automatic stay to any
                                party other than the DIP Lender to permit the enforcement of any rights
                                or remedies—including but not limited to foreclosure—against any DIP
                                Collateral (each an “Event of Default” and collectively, “Events of
                                Default”).
                                See Term Sheet at Exhibit A; Interim Order ¶ 12.




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        Bankruptcy Code         Summary of Material Terms
 Carve Out                      The Interim Order provides a “Carve Out” of certain statutory fees,
 Bankruptcy Rule                allowed professional fees of the Debtor, and an official committee of
 4001(c)(1)(B)                  unsecured creditors appointed under section 1102 of the Bankruptcy
                                Code appointed in the Chapter 11 Case pursuant to section 1103 of the
                                Bankruptcy Code, all as detailed in the Interim Order.
                                See Interim Order ¶ 9.
 Fees                           Debtor agrees that Lender’s due diligence costs, including, without
 Bankruptcy Rule                limitation, its legal fees (collectively the “Transaction Expenses”)
 4001(c)(1)(B)                  are the Debtor’s responsibility.
                                See Term Sheet at ¶ 5, Interim Order ¶ 23.


 506(c) Waiver                  By entry of this Interim Order, the Debtor waives its rights under
 Bankruptcy Rule                sections 506(c) and 552(b) of the Bankruptcy Code, and the equitable
 4001(c)(l)(B)(x)               doctrine of marshalling, as to DIP Lender. Such waivers will be binding
                                upon the estate and any subsequently appointed trustee.
 Section 552(b)
 Bankruptcy Rule
 4001(c)(l)(B)                  See Interim Order ¶ 17.
 Stipulations to Prepetition    The Debtor has stipulated to: (i) the DIP Lender’s terms of financing;
 Liens and Claims               (ii) the Debtor reasonably and in good faith believes that the loaned
 Bankruptcy Rule                amounts are sufficient to fund projected legitimate and allowable
 4001(c)(1)(B)(iii)             expenses through the Budget Period; and (iii) the Debtor has the
                                requisite power and authority to undertake actions required all as more
                                fully set out in paragraph F.


                                See Interim Order ¶ F.
 Waiver/Modification of the     The automatic stay imposed under section 362(a) of the Bankruptcy
 Automatic Stay Bankruptcy      Code is hereby modified as necessary to effectuate all of the terms and
 Rule 4001(c)(1)(B)(iv)         provisions of this Order, including, without limitation, to: (a) permit
                                the Debtor to grant the DIP Liens and Superpriority Claim; (b) permit
                                the Debtor to pay, and the DIP Lender to retain and apply, payments
                                made in accordance with the terms of this Order and the DIP Facility;
                                and (c) permit the DIP Lender to pursue appropriate remedies provided
                                under the DIP Facility and this Order should an Event of Default occur.


                                If the Debtor fails to cure the Event of Default during the Cure Period,
                                or is unsuccessful at disputing the Event of Default during a Default
                                Hearing, then DIP Lender may exercise all rights and remedies against
                                the Debtor and the DIP Collateral in accordance with the DIP Facility
                                and applicable law without further order of this Court.
                                See Interim Order ¶¶ 13 and 15.



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          Bankruptcy Code              Summary of Material Terms
    Waiver or Modification of          This Order shall be sufficient and conclusive evidence of the validity,
    Nonbankruptcy Lien                 perfection, and priority of the DIP Liens without (a) the necessity of
    Perfection Law                     filing or recording any financing statement, mortgage, notice, or other
                                       instrument or document which may otherwise be required under the law
    Rule 4001(c)(1)(B)(vii)
                                       or regulation of any jurisdiction, or (b) taking any other action to
                                       validate or perfect the DIP Liens in accordance with applicable non-
                                       bankruptcy law. Notwithstanding the foregoing, the DIP Lender is
                                       authorized to file any such documents or notices and to take any action
                                       otherwise required by applicable non-bankruptcy law to perfect or
                                       evidence the existence of perfected liens on the DIP Collateral. The
                                       Debtor is authorized and directed to execute and deliver promptly upon
                                       demand to DIP Lender all such financing statements, titles, deeds of
                                       trust, control agreements, notices, and other documents that the DIP
                                       Lender may reasonably request. DIP Lender may, in its sole discretion,
                                       file a copy of this Order as a financing statement or as other evidence of
                                       the perfection of the DIP Liens in the DIP Collateral with any filing or
                                       recording office or with any registry of deeds, titles, or similar office in
                                       addition to or in lieu of a financing statement, notice of lien, or other
                                       similar instrument.
                                       See Interim Order ¶ 8.



                                 The Debtor’s Prepetition Capital Structure

           13.      As of September 30, 2021, Red River had approximately $35.0 million in total debt

funded obligations, consisting of (a) approximately $5.0 million in aggregate principal and interest

amounts outstanding under a prepetition revolving facility (the “Revolving Facility”), and

(b) approximately $29.6 million in aggregate principal and interest amounts outstanding under a

term loan facility (the “Term Loan Facility”). The following table summarizes Red River’s

prepetition capital structure.6

              Funded Debt                             Maturity                Outstanding Principal Amount
                                                                                  as of October 11, 2021
                                                     Secured Debt
    Revolving Facility                    April 1, 2025                      $4.8 million
    Term Loan Facility                    April 1, 2025                      $26.3 million
                      Total Secured and Funded Debt                          $31.1 million

6
    Union Bank asserts additional fees and expenses are due, as well.


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          14.       The Revolving Facility and the Term Loan Facility are each provided under that

 certain Credit Agreement, dated as of April 1, 2020 (as amended from time to time and with all

 supplements and exhibits thereto, the “Prepetition Credit Agreement”), by and between Red River

 Waste Solutions, LP, as borrower, Red River Service Corporation, as guarantor, and MUFG Union

 Bank, N.A. (“Union Bank”), as administrative and collateral agent, among others. The Prepetition

 Credit Agreement provides that the obligations arising thereunder are to be secured by first priority

 liens on assets of Debtor Red River Waste Solutions, LP and non-debtor Red River Waste

 Solutions, GP, subject to customary exceptions and exclusions.

          A.        Union Bank’s Security Interests.

          15.       In the months before the Petition Date, Red River determined that certain of the

 liens securing the Prepetition Credit Facility were not properly perfected as had been required.

 Specifically, the certificates of title for multiple vehicles and other equipment have not been

 properly perfected. The Debtor challenges Union Bank’s interest in the DIP Collateral.

                                            The DIP Facility

 I.       The Debtor’s Need for Access to Financing.

          16.       As described in the First Day Declaration, the Debtor requires immediate access to

 financing under the DIP Facility to ensure it is able to continue operating during this Chapter 11

 Case and preserve the value of its estate for the benefit of all parties in interest. Without immediate

 postpetition financing, the Debtor will be unable to pay wages to its employees, pay vendors for

 equipment and services, meet working capital and business operating needs, preserve and

 maximize the value of its estate, and administer this Chapter 11 Case, causing immediate and

 irreparable harm to the value of the Debtor’s estate to the detriment of all stakeholders. Otherwise




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 customers may seek alternative products and services, and vendors and suppliers may refuse to do

 business with the Debtor.

          17.       As set forth in the Approved Budget, to ensure such liquidity, the Debtor seeks

 authorization to obtain $500,000.00 from the DIP Facility. The Debtor believes the DIP Facility

 is essential to preserve and maximize the value of it estate, and responsibly administer this Chapter

 11 Case in the crucial early months of this case.

          A.        Alternative Sources of Financing Are Not Available on Better Terms.

          18.       The Debtor engaged CRS Capstone Partners LLC (“Capstone”) in July 2021 as a

 financial advisor to assist the company and exploring financing options to address the Debtor’s

 liquidity constraints. To that end, Capstone prepared an overview of the Debtor’s operations and

 financial needs, which was distributed, on a confidential basis, with approximately 15 potential

 debtor in possession (“DIP”) lenders. Nine interested parties executed non-disclosure agreements

 and were provided access to a data room, which contained information about the Debtor’s business

 operations, financial performance, and assets. The Debtor received four DIP loan term sheets.

          19.       The Debtor ultimately determined that the DIP Facility was the best financing

 alternative available under the circumstances because it was able to provide competitive and

 sufficient financing to meet the Debtor’s proposed liquidity needs early in this Case.

          20.       The proposed DIP Facility is a key component to ensure the Debtor is able to

 continue its operations during this Chapter 11 Case, and is the product of good faith negotiations

 conducted at arm’s-length between the Debtor’s advisors and the DIP Lender’s advisors. The

 Debtor would further demonstrate that the terms of the DIP Facility are fair, reasonable and

 appropriate under the circumstances and are in accordance with current market terms and further,

 that the DIP Facility is fair, reasonable, an exercise of sound business judgment, and necessary to

 avoid irreparable harm during the course of this Chapter 11 Case.

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                                              Basis for Relief

 I.       The Debtor Should Be Authorized to Obtain Postpetition Financing Through the DIP
          Financing Documents.

          A.        Entry into the DIP Financing Documents Is an Exercise of the Debtor’s Sound
                    Business Judgment.

          21.       The Court should authorize the Debtor to enter into the DIP Financing Documents,

 and obtain access to the DIP Facility. Courts grant a debtor-in-possession considerable deference

 in acting in accordance with its business judgment in obtaining postpetition secured credit, so long

 as the agreement to obtain such credit does not run afoul of the provisions of, and policies

 underlying, the Bankruptcy Code. See, e.g., In re N. Bay Gen. Hosp., Inc., No. 08-20368 (Bankr.

 S. D. Tex. July 11, 2008) (order approving postpetition financing on an interim basis as exercise

 of debtors’ business judgment); In re L. A. Dodgers LLC, 457 B. R. 308, 313 (Bankr. D. Del. 2011)

 (“[C]ourts will almost always defer to the business judgment of a debtor in the selection of the

 lender.”); In re Ames Dep’t Stores, Inc., 115 B. R. 34, 40 (Bankr. S. D. N. Y. 1990) (“[C]ases

 consistently reflect that the court’s discretion under section 364 is to be utilized on grounds that

 permit reasonable business judgment to be exercised so long as the financing agreement does not

 contain terms that leverage the bankruptcy process and powers or its purpose is not so much to

 benefit the estate as it is to benefit a party-in-interest.”).

          22.       Specifically, to determine whether the business judgment standard is met, a court

 need only “examine whether a reasonable business person would make a similar decision under

 similar circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006); see also In

 re Curlew Valley Assocs., 14 B. R. 506, 513–14 (Bankr. D. Utah 1981) (noting that courts should

 not second guess a debtor’s business decision when that decision involves “a business judgment

 made in good faith, upon a reasonable basis, and within the scope of the debtor’s authority under

 the [Bankruptcy] Code”).

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          23.       Furthermore, in considering whether the terms of postpetition financing are fair and

 reasonable, courts consider the terms in light of the relative circumstances of both the debtor and

 the potential lender. See In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W. D. Mo. 2003)

 (while many of the terms favored the DIP lenders, “taken in context, and considering the relative

 circumstances of the parties,” the court found them to be reasonable); see also Unsecured

 Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re Elingsen McLean Oil

 Co., Inc.), 65 B.R. 358, 365 n. 7 (W. D. Mich. 1986) (recognizing a debtor may have to enter

 into “hard bargains” to acquire funds for its reorganization). The Court may also appropriately

 take into consideration non-economic benefits to the Debtor offered by a proposed postpetition

 facility. For example, in In re ION Media Networks, Inc., the bankruptcy court for the Southern

 District of New York held that:

                    Although all parties, including the Debtors and the Committee, are
                    naturally motivated to obtain financing on the best possible terms, a
                    business decision to obtain credit from a particular lender is almost
                    never based purely on economic terms. Relevant features of the
                    financing must be evaluated, including non economic elements
                    such as the timing and certainty of closing, the impact on creditor
                    constituencies and the likelihood of a successful reorganization.
                    This is particularly true in a bankruptcy setting where cooperation
                    and establishing alliances with creditor groups can be a vital part of
                    building support for a restructuring that ultimately may lead to a
                    confirmable reorganization plan. That which helps foster consensus
                    may be preferable to a notionally better transaction that carries the
                    risk of promoting unwanted conflict.

 No. 09-13125, 2009 WL 2902568, at *4 (Bankr. S. D. N. Y. July 6, 2009) (emphasis added).

          24.       The Debtor’s determination to move forward with the DIP Facility is an exercise

 of its sound business judgment. The DIP Facility will allow the Debtor to: (a) fund capital

 expenditures that are essential to the Debtor’s continuation as a going concern; (b) provide the

 liquidity necessary to continue favorable trade terms with vendors and to reassure other

 stakeholders; (c) fund payroll obligations; (d) fund the administrative cost of this Chapter 11 Case;

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 and (e) provide a path to emergence by allowing the Debtor to investigate and implement the

 appropriate restructuring plan. The Debtor negotiated the DIP Facility and other DIP Financing

 Documents with the DIP Lender in good faith, at arm’s length, and with the assistance of their

 respective advisors, and the Debtor believes that it has obtained the best financing available under

 the circumstances.

          B.        The Debtor Should Be Authorized to Grant Liens and Superpriority Claims.

          25.       The Debtor proposes to obtain financing under the DIP Facility by providing

 security interests and liens as set forth in the DIP Financing Documents pursuant to section 364(c)

 of the Bankruptcy Code.          Specifically, the Debtor proposes to provide to the DIP Lender

 postpetition security interest in and liens on the DIP Collateral that are valid, perfected, allowed,

 enforceable, non-avoidable and not subject to challenge, dispute or subordination immediately

 upon entry of the Interim Order.

          26.       The above-described liens on encumbered and unencumbered assets are common

 features of postpetition financing facilities, and as set forth in greater detail in the First Day

 Declaration, and were a necessary feature here to provide security for the proposed financing.

 Indeed, postpetition financing facilities approved in this Circuit and elsewhere routinely are

 secured by the proceeds of a debtor’s unencumbered assets such as leaseholds that are subject to

 leases that prohibit the impositions of liens thereon. See, e. g., In re Studio Movie Grill Holdings,

 LLC, No. 20-32633 (SGJ) (Bankr. N. D. Tex. Nov. 27, 2020) (approving DIP liens on collateral

 including any leasehold interests or the proceeds thereof as permitted by applicable law); In re

 Taco Bueno Restaurants, Inc., No. 18-33678 (SGJ) (Bankr. N. D. Tex. Nov. 30, 2018) (same).

          27.       The statutory requirement for obtaining postpetition credit under section 364(c) is

 a finding, made after notice and hearing, that a debtor is “unable to obtain unsecured credit

 allowable under Section 503(b)(1) of [the Bankruptcy Code].” 11 U.S.C. § 364(c). See In re

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 Crouse Grp., Inc., 71 B.R. 544, 549 (Bankr. E. D. Pa. 1987) (secured credit under section 364(c)

 of the Bankruptcy Code is authorized, after notice and hearing, upon showing that unsecured credit

 cannot be obtained). Courts have articulated a three-part test to determine whether a debtor is

 entitled to financing under section 364(c) of the Bankruptcy Code. Specifically, courts look to

 whether:

                    a.       the debtor is unable to obtain unsecured credit under section 364(b) of the
                             Bankruptcy Code, i.e., by allowing a lender only an administrative claim;

                    b.       the credit transaction is necessary to preserve the assets of the estate; and

                    c.       the terms of the transaction are fair, reasonable, and adequate, given the
                             circumstances of the debtor-borrower and proposed lenders.

 See In re Los Angeles Dodgers LLC, 457 B. R. 308 (Bankr. D. Del. 2011); See In re Ames Dep’t

 Stores, 115 B.R. 34, 37–40 (Bankr. S. D. N. Y. 1990); see also In re St. Mary Hosp., 86 B.R. 393,

 401–02 (Bankr. E. D. Pa. 1988); Crouse Grp., 71 B.R. at 549.

          28.       As described above and as set forth in the First Day Declaration, no third-party

 lender was willing to provide postpetition DIP financing on an unsecured, pari passu, or on a

 junior-lien basis to Union Bank. See First Day Decl. ¶ 32.

          29.       Absent the DIP Facility, which will provide assurances that the Debtor will have

 sufficient liquidity to administer this Chapter 11 Case, the value of the Debtor’s estate would be

 significantly impaired to the detriment of all stakeholders. See First Day Decl. ¶¶ 34-35. Without

 postpetition financing, the Debtor lacks sufficient funds to operate its enterprise, continue paying

 its debts as they come due, and cover the projected costs of this Chapter 11 Case. See First Day

 Decl. ¶ 34. Given the Debtor’s circumstances, the Debtor believes that the terms of the DIP

 Facility, as set forth in the DIP Financing Documents, are reasonable as more fully set forth above

 and in the First Day Declaration. For all these reasons, the Debtor submits that it has met the

 standard for obtaining postpetition financing.

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          30.       In the event that a debtor is unable to obtain unsecured credit allowable as an

 administrative expense under section 503(b)(1) of the Bankruptcy Code, section 364(c) of the

 Bankruptcy Code provides that a court “may authorize the obtaining of credit or the incurring of

 debt (a) with priority over any or all administrative expenses of the kind specified in section 503(b)

 or 507(b) of [the Bankruptcy Code]; (b) secured by a lien on property of the estate that is not

 otherwise subject to a lien; or (c) secured by a junior lien on property of the estate that is subject

 to a lien.” As described above, the Debtor is unable to obtain unsecured credit. Therefore,

 approving a superpriority claim in favor of the DIP Lender is reasonable and appropriate.

          31.       Here, because Union Bank does not have a perfected interest in the DIP Collateral,

 its interests are adequately protected. Section 544 of the Bankruptcy Code provides the trustee

 with the status of a hypothetical lien creditor, allowing the trustee to avoid a security interest that

 is unperfected as of the date of the commencement of the case. 11 U.S.C. § 544(a); In re Roy, 12

 F.3d 1099 (5th Cir. 1993).

          32.       “The determination of whether a creditor has properly perfected its security interest

 is also governed by state law.” Stanton v. Texas Drug Co. (In re Stanton), 254 B.R. 357, 361–62

 (Bankr.E.D.Tex.2000). In Texas, a security interest in a motor vehicle is properly perfected by

 recording the security interest on the vehicle's certificate of title. TEX. TRANSP. CODE ANN

 § 501.111(a) (West 2021). The lienholder is entitled to retain the original certificate of title until

 the loan is satisfied. See TEX. TRANSP. CODE ANN § 501.027 (West 2021); Dota v. First

 National Bank of El Campo (In re Dota), 288 B.R. 448, 460 (Bankr.S.D.Tex.2003). A trustee may

 avoid an unperfected lien on a vehicle pursuant to the strong arm powers under section 544 of the

 Bankruptcy Code. see also In re Hancock, 126 B.R. 270, 272–73 (Bankr.E.D.Tex.1991)




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 (discussing that trustee, as lien creditor, could avoid an unperfected lien on a vehicle under the

 strong arm powers of 11 U.S.C. § 544(a)(1)).

          33.       As discussed above, the certificates of title for multiple vehicles and other

 equipment have not been recorded and, therefore, are not properly perfected under Texas law. The

 Debtor challenges any claim to a security interest by Union Bank in the DIP Collateral. Because

 Union Bank does not have a perfected interest in the DIP Collateral, its interests are adequately

 protected and are not being primed. Therefore, the relief requested pursuant to section 364(c) of

 the Bankruptcy Code is appropriate.

          C.        No Comparable Alternative to the DIP Facility is Reasonably Available on
                    More Favorable Overall Terms.

          34.       A debtor need only demonstrate “by a good faith effort that credit was not available

 without” the protections afforded to potential lenders by sections 364(c) of the Bankruptcy Code.

 In re Snowshoe Co., Inc., 789 F. 2d 1085, 1088 (4th Cir. 1986); see also In re Plabell Rubber

 Prods., Inc., 137 B. R. 897, 900 (Bankr. N. D. Ohio 1992). Moreover, in circumstances where

 only a few lenders likely can or will extend the necessary credit to a debtor, “it would be unrealistic

 and unnecessary to require [the debtor] to conduct such an exhaustive search for financing.” In re

 Sky Valley, Inc., 100 B. R. 107, 113 (Bankr. N. D. Ga. 1988), aff’d sub nom. Anchor Sav. Bank

 FSB v. Sky Valley, Inc., 99 B. R. 117, 120 n. 4 (N. D. Ga. 1989); see also In re Snowshoe Co., 789

 F. 2d 1085, 1088 (4th Cir. 1986) (demonstrating that credit was unavailable absent the senior lien

 by establishment of unsuccessful contact with other financial institutions in the geographic area);

 In re Stanley Hotel, Inc., 15 B. R. 660, 663 (D. Colo. 1981) (bankruptcy court’s finding that two

 national banks refused to grant unsecured loans was sufficient to support conclusion that section

 364 requirement was met); In re Ames Dep’t Stores, 115 B. R. at 37–39 (debtor must show that it

 made reasonable efforts to seek other sources of financing under section 364(a) and (b)).


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          35.       As noted above, the Debtor does not believe that a more favorable alternative DIP

 financing is reasonably available. The DIP Facility provides the Debtor with the liquidity it needs

 at the lowest cost available while simultaneously placing the Debtor on an optimal path for a

 successful restructuring. Therefore, the Debtor submits that the requirement of section 364 of the

 Bankruptcy Code that alternative credit on more favorable terms be unavailable to the Debtor is

 satisfied.

 II.      The DIP Lender Should Be Deemed A Good-Faith Lender Under Section 364(e).

          36.       Section 364(e) of the Bankruptcy Code protects a good-faith lender’s right to

 collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

 authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

 appeal. Section 364(e) of the Bankruptcy Code provides that:

                    The reversal or modification on appeal of an authorization under this
                    section [364 of the Bankruptcy Code] to obtain credit or incur debt,
                    or of a grant under this section of a priority or a lien, does not affect
                    the validity of any debt so incurred, or any priority or lien so granted,
                    to an entity that extended such credit in good faith, whether or not
                    such entity knew of the pendency of the appeal, unless such
                    authorization and the incurring of such debt, or the granting of such
                    priority or lien, were stayed pending appeal.

          37.       As explained herein, in the First Day Declaration, the DIP Financing Documents

 are the result of: (a) the Debtor’ reasonable and informed determination that the DIP Lender

 provided the best postpetition financing alternative available under the circumstances, and

 (b) extended arm’s length, good-faith negotiations between the Debtor and the DIP Lender. The

 Debtor submits that the terms and conditions of the DIP Financing Documents are reasonable

 under the circumstances, and the proceeds of the DIP Facility will be used only for purposes that

 are permissible under the Bankruptcy Code. Further, no consideration is being provided to any

 party to the DIP Financing Documents other than as described herein. Accordingly, the Court


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 should find that the DIP Lender is a “good faith” lender within the meaning of section 364(e) of

 the Bankruptcy Code and are entitled to all of the protections afforded by that section.

 III.     The Automatic Stay Should Be Modified on a Limited Basis.

          38.       The proposed Interim Order provides that the automatic stay provisions of section

 362 of the Bankruptcy Code will be modified to effectuate all of the terms and provisions of the

 Interim Order, including, without limitation, to: (a) permit the Debtor to grant the DIP Liens and

 Superpriority Claim; (b) permit the Debtor to pay, and the DIP Lender to retain and apply,

 payments made in accordance with the terms of this Order and the DIP Facility; and (c) permit the

 DIP Lender to pursue appropriate remedies provided under the DIP Facility and this Order should

 an Event of Default occur.

          39.       Stay modifications of this kind are ordinary and standard features of debtor in

 possession financing arrangements and, in the Debtor’s business judgment, are reasonable and fair

 under the circumstances of this Chapter 11 Case. See, e.g., In re Tuesday Morning Corp., No. 20-

 31476 (HDH) (Bankr. N. D. Tex. July 10, 2020) (modifying automatic stay as necessary to

 effectuate the terms of the order); In re Taco Bueno Restaurants, Inc., No. 18-33678 (SGJ) (Bankr.

 N. D. Tex. Nov. 30, 2018) (same).

 IV.      Failure to Obtain Immediate Interim Access to the DIP Facility Would Cause
          Immediate and Irreparable Harm.

          40.       Bankruptcy Rules 4001(b) and 4001(c) provide that a final hearing on a motion to

 obtain credit pursuant to section 364 of the Bankruptcy Code of the Bankruptcy Code may not be

 commenced earlier than 14 days after the service of such motion. Upon request, however, the

 Court may conduct a preliminary, expedited hearing on the motion and authorize the obtaining of

 credit to the extent necessary to avoid immediate and irreparable harm to a debtor’s estate.




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          41.       For the reasons noted above, the Debtor has an immediate postpetition need to

 access the liquidity provided by the DIP Facility. The Debtor cannot maintain the value of its

 estate during the pendency of this Chapter 11 Case without access to cash. The Debtor will use

 cash, among other things, to fund the operation of their business, maintain business relationships

 with their vendors and suppliers, make payroll, and satisfy other essential working capital and

 operational needs, all of which are required to preserve and maintain the Debtor’s going concern

 value for the benefit of all parties in interest, and to fund the administration of this Chapter 11

 Case. In addition to its use of cash collateral, which the Debtor is seeking authority to use by way

 of a separate motion, the Debtor requires additional funds to meet their operational needs. See

 First Day Decl. ¶ 34. The Debtor’s inability to obtain additional financing would likely lead to

 operational funding shortfalls and the inability of the Debtor to meet its operational needs. Id. In

 short, the Debtor’s ability to administer this Chapter 11 Case access to the DIP Facility is vital to

 preserve and maximize the value of the Debtor’s estate.

          42.       The Debtor requests that the Court hold and conduct a hearing to consider entry of

 the Interim Order authorizing the Debtor, from and after entry of the Interim Order until the Final

 Hearing, to funding under the DIP Facility. The Debtor requires funding under the DIP Facility

 prior to the Final Hearing and entry of the Final Order to continue operating, pay its administrative

 expenses, and to implement the relief requested in the Debtor’s other “first day” motions. This

 relief will enable the Debtor to preserve and maximize value and, therefore, avoid immediate and

 irreparable harm and prejudice to its estate and all parties in interest, pending the Final Hearing.

                                       Request for Final Hearing

          43.       Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtor requests that

 the Court set a date for the Final Hearing that is as soon as practicable, and in no event after 25



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 days after the Petition Date, and fix the time and date prior to the Final Hearing for parties to file

 objections to this motion.

                                 Waiver of Bankruptcy Rule 6004(a) and 6004(h)

          44.       To implement the foregoing successfully, the Debtor seeks a waiver of the notice

 requirements under Bankruptcy Rule 6004(a) and the 14-day stay of an order authorizing the use,

 sale, or lease of property under Bankruptcy Rule 6004(h).

                                                    Notice

          45.       The Debtor will provide notice of this motion to: (a) the U.S. Trustee for the

 Northern District of Texas; (b) the holders of the 30 largest unsecured claims against the Debtor;

 (c) MUFG Union Bank, N.A., in its capacity as successor Administrative Agent under the

 Prepetition Credit Agreement, or any of its predecessors or successors; (d) counsel to the proposed

 DIP Lender; (e) the United States Attorney’s Office for the Northern District of Texas; (f) the

 Internal Revenue Service; (g) the state attorneys general for all states in which the Debtor conducts

 business; (h) any creditor known to have filed a UCC-1 financing statement concerning the

 Debtor’s assets as of the Petition Date; and (j) any party that has requested notice pursuant to

 Bankruptcy Rule 2002. In light of the nature of the relief requested, no other or further notice is

 needed.

                                               No Prior Request

          46.       No prior request for the relief sought in this motion has been made to this or any

 other court.

          WHEREFORE, the Debtor respectfully requests that the Court enter an interim order,

 substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

 such other relief as the Court deems appropriate under the circumstances.



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            Respectfully submitted this 14th day of October, 2021.



   Dated: October 14, 2021                             /s/ Marcus A. Helt
                                                       Marcus A. Helt, Esq. (Texas Bar #24052187)
                                                       Jane A. Gerber, Esq. (Texas Bar #24092416)
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                                                       PROPOSED COUNSEL FOR THE DEBTOR
                                                       AND DEBTOR-IN-POSSESSION



                                        Certificate of Service

                 I certify that on October 14, 2021, I caused a copy of the foregoing document to
  be served by the Electronic Case Filing System for the United States Bankruptcy Court for the
  Northern District of Texas.
                                                   /s/ Marcus A. Helt
                                                   Marcus A. Helt




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                                     Certificate of Conference

         I certify that prior to filing the foregoing Motion, I caused copies of the proposed Interim
 Order and the First Day Declaration, to be sent to the trial attorney in the Office of the United
 States Trustee, for review and comment. I also certify that the Interim Order and all exhibits
 thereto were heavily negotiated with the DIP Lender and its professionals, and that, based on my
 communications with counsel for the DIP Lender, I believe that the DIP Lender consents to entry
 of the DIP Order on the terms proposed in the Motion.

                                                          /s/ Marcus A. Helt
                                                          Marcus A. Helt




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